    Case 1:18-cv-04617-MLB Document 94 Filed 07/01/22 Page 1 of 3




            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

DE’KELVIN RAFAEL MARTIN,                 )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )       Civil Action No.
                                         )       1:18-cv-04617-MLB
TIMOTHY WARD, Commissioner,              )
      Georgia Department of Corrections; )
                                         )
                                         )
BENJAMIN FORD, Warden,                   )
      Georgia Diagnostic and             )
      Classification Prison;             )
                                         )
      Defendants.                        )
____________________________________ )

                   MOTION FOR CONTINUANCE

      In accordance with the Northern District’s Local Rule 39.5(A),

undersigned counsel respectfully requests that the Court grant a

continuance for the hearing currently scheduled for July 14, 2022.

Undersigned counsel is lead counsel in this action and will be on

vacation in Canada during the week of July 11 through June 15, 2022.

The funds for this trip are non-reimbursable. Undersigned counsel

apologizes to the Court for not filing a leave of absence request and is

filing a leave of absence contemporaneous with this motion for

continuance.


                                    1
    Case 1:18-cv-04617-MLB Document 94 Filed 07/01/22 Page 2 of 3




    Should the Court grant this request, and chooses to set the

hearing during the week prior, undersigned counsel informs the Court

that a hearing is scheduled for July 8, 2022 in the case of Martin v.

Warden, Case No. 2017-SU-HC-0009, at the Georgia Diagnostic and

Classification Prison in Jackson, Georgia. Opposing counsel will be in

attendance at the hearing set for July 8, 2022 because it concerns

Plaintiff’s state habeas action. Undersigned counsel has conferred with

opposing counsel and was advised that counsel for Martin are available

the weeks of July 25-29, 2022 and August 8-12, 2022. Undersigned

counsel is available any week other than the week of July 9-15, 2022.


    Respectfully submitted,



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                                    2
          Case 1:18-cv-04617-MLB Document 94 Filed 07/01/22 Page 3 of 3




                       CERTIFICATE OF SERVI CE
    I hereby certify that on July 1, 2022, I served this brief by electronically

filing it with this Court’s ECF system, which constitutes service on all

attorneys who have appeared in this case and are registered to use the ECF

system.

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                                           /s/ Sabrina D. Graham
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                                       3
